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                                                                                                   _                                             ^
                                                              CITATION                             ^                                             I
                                                                                                                                                 i

                                                                                                                                                 I

                                                                                                                 Cafe; #21-1184
        AHMAD ALKURD, ETALS                                                                                                ^
                                                                                                                Division: A

        VERSUS                                                                                                  34"' Judicial District Court
                                                                                                                 Parish ofSt. Bernard
  •::   AMERICAN SUGAR REFINING, INC.                                                                           State ofLouisiana




   ; TO: AMERICANSUGAR REFINING, INC.                                                                                                            j
         THROUGH ITSAGENT FORSERVICE OF PROCESS:                                                                                                 j!
              CORPORATE CREATIONS NETWORK, INC.                                                                                                  •
              I070'B WEST CAUSEWA YAPPROACH                                                                                                      )
              MANDEVILLE, LA 70471                                                                                                               \


  ;            YOU HAVE BEEN SUED. Attached tn this Citation is acertified copy ofPETmON FOR                                                     ?
  I DAiMAGES. ETC. The petition tellsyou what you are being sued for.                                                                            ?
  I*                                                                                                                                             t
  I            You must either DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15) DAYS after you                                                  \
   • have received these documents, you must file an answer orother legal pleadings in the office ofthe Clerk of                                 *
        Court at the St. Bernard Parish Courthouse, 1101 W. St. Bernard Hwy, Chalmette, LA 70043.                                                    j

               Ifyou do not do what the Petition asks, orifyou do not file an answer orlegal pleading within                                         [
   • FIFTEEN (15) DAYS, a judgment may be entered against you without further notice.                                                                j

               This Citation was issued by the Clerk of Court for St. Bernard Parish, Louisiana onthe 14^" DAY OF                                    •
  ;     SEPTEMBER. 2021.                                                                                                                             i
                                                                                                                                                     V


  1                                                                                                                                                  5
  I HMH/AHMAD                                                                                                                                        ^
  I                                                                                             RANDY S. NUNEZ                                       I
  \                                                                                             Clerk ofCourt                                        j;
                                                                                                Parish of St. Bernard                            .>
                                                                                                                                                     r*

                                                                                                                                                     }



                                                                                         By.           /s/ Hailev Hiers
                                                                                                           Deputy Clerk                              I;
        www.stbclerk.com                                                                               /S/ HAILEY HIERS                          ;


  i            DOMICILIARY
  ;;
               Date Received by the Parish of St. Bernard;.
   3           Date Served:
               Address Served:^
               Domiciliary Service on:                                          ^a person apparently overtheage of 14 years living andresiding
               in said domicile, whose name and other facts, connected with this service I learned by interrogating the same.
               Service intended fon                                     a person domiciled at the above address but wasabsent at the timeof
               service.
                                          Returned Parish of St. Bernard this          day of                          ,        .
                                                                                                                                    EXHIBIT
                                                                                         Sheriff
               PERSONAL                                                                                                                  A
   Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 2 of 28




AHMAD j^KURD, ETALS                                   NO.               DIV.
Plaintiffs
                                                      34^             DISTRIdfCOURI
VERSUS
                                                      PARISH OF ST. BERNARD
AMERICA SUGAR REFINING, INC.
Defendant                                             STATE OF LOUISIANA
                                                            OFLOUISIA]

iTTfirn.               AU6 2 5 2821                   clek                  5. nli

                                    PETITION FOR DAMA GES


       N(j)W INTO COURT, through undersigned cqunsel, come plaintiffs identified in
Exhibit 1|Who respectfully submit:

                                                1.

                                            PARTIES

                                                1.

       Made plaintiffs herein are those persons identified inExhibit 1.
                                                2.


       Nfade defendant herein is:
                I

       (2|)         AMERICAN SUGAR REFINING, DfC., aforeign corporation domiciled
                    in the State of Delaware and licensedj to and doing business in State of
                    Louisiana.

                                               n.
            I

                                            VENUE

                                                3.


       As such, the TTiuty-Fourth Judicial District C ourt for the Parish of St. Bernard is

the proper venue to bring this action under Articl^ 74 because (1) the offense, quasi
offense,jand/or wrongful conduct occurred in the ten itorial jurisdiction of this parish; anc
(2) Hamagftg wCTe sustained in the territorial jurisdii don of this parish as a result of the
        j

offense,iquasi offense, and/or wrongful conduct desaLbed herein




                                             [1/23]
    Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 3 of 28




                                              m.

                                       JURISDICTION

                                              4.

       This court has original jurisdiction to hear this ^    under Articles 2 through 6 of

the Code of Qvil Procedure.

                                              IV.
               I


                                      PRESCRIPTION

                                              5.


       Unlder Louisiana Civil Code Article 3492 tiii delictual action has been timely

brought as itis being filed within one year of the datejthat the injury and/or damage was
sustained^

                                              V.

           I                    GENERALALLEGAlllONS
                                              6.


       At all TPfltftrial times, each plaintiff identified in Eidiibit 1 was present and/or
residing at the corresponding addressed id^tified ther tin.

                                              7.

       At all materialtimes, defendantAmericanSugi irRefining, Inc. owned and operated

a sugar |r^ery located at 7417 N. Peters Rd. in Arabi, Louisiana, all of which is
contained in flie Parish of St Bernard ("the Domino Sugar Refinery").

                                   .8.

       dn or about August 27, 2020 at approximately 4:00 o'clock p.m., a massive fire
occurred at one of the silos at the Domino Sugar      ]^efinery   which released harmful and

hazardous substances tibroughoutthe area.

                                              9.

               a result of the fire, each of the plaintiffs named herein was disturbed and

inconvdoienced as a result of the fire, shdter-in-pl ice order, and/or harmful release o:
       I


chemic^.



                                            [2/23]
Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 4 of 28




                                          VI.

                                     COUNT I:

                                     DAMAGES

                                          10.

  The^uisiana Code of Civil Procedure provides n relevant part;
        I Art 2315. Liability for acts causing daiiaiiges

          A. Every act whatever of man that cause i damage to another
          obliges himbywhose faultit happened to repair it.

          B. Damages may include loss of consortium, service, and
          society, and ^hall be recoverable by tne same respective
          categories of persons who would have h^d a cause of action
          for wrongful deatii of an injured perscm. Damages do not
          include costs for      future    medical   tteatment, services,
          surveillance, or procedures of any kind u^ess such treatment,
          services, surveillance, or procedures are directly related to a
          manifest physical or mental injury or disease. Damages shall
          include any sales taxes paid by the owner on the repair or
          replacement of the property damaged, j
                                                     I

          Art.2316. Negligence, imprudence or lyantof skill
          Every parson is responsible for the dam tge he occasions not
          merely by his act, but by his ne^gence. his imprudence, or
          his want of sldll.                         »

          Art. 2317. Acts of others and of               custody

          We are responsible, not only for the daEmage occasioned by
          our own act, but for tiiat which is causedJby the act of persons
          for whom we are answerable, or of the mings which we have
          in our custody. This, however, is to belunderstood with the
          following modifications.                   |
    I     Art 2317.1. Damage caused by mini vice, or defect in
          tilings                                    I
          The owner or custodian of a diing is aiwwerable for damage
          occasioned by its ruin, vice, or defect only upon a showing
          that he knew or, in the exercise of re^onable care, should
          have known of die ruin, vice, or drfect which caused die
    '     damage, that the damage could have been prevented by the
                    of reasonablecare, and that he failed to exercise such
    I     reasonable care. Nothing in tiiis Artide shall preclude the
          court from theapplication of thedoctrine of resipsa loquitur
    j     inanappropriate case.                 ;


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                                            11.

       upon information and belief, the accident described herein was caused through the
                                                         f

fault ofdef^dant AMERICAN SUGARREFINING, D^TC. in the following non-exclusive
particulars:'

   (l)By failing toconduct its operations in a safe ant prudent nianner so as to prevent
   IBres and emissions that would endanger thesurround ngcommunities;
    (2)By Rowing a hazardous situation to exist in        ts refinery where highly volatile

   ^compounds could escape and come into contact wi h        flammable materials inside the

    refinery;

    (3)Byfailing to follow established safety and operation procedures to prevent fires and
    emissions;

    (4)By demonstrating alack of prudence or skill in preventing injury to liie legally
          '                                     .   I
    protect^ interests of the surrounding commumty; ^
    (5)By failing to property store and/or dispose of haz^dous materials;
    (6)By creating apubUc health hazard by subjecting petitioners to an invasion of their
    rights tobesecure intheir persons and property;
    (7)By failing to warn the surrounding community pf the public dangers presented by
    theoperations at therefinery;

    (8)By .hiring employees or contractors who lackei the requisite skill and prudence
    necess^ to perform services and operations at tke refinery in asafe and prudent
    manner;


    (9)By failing to erect safe and sufficient barriers oi otiier such devices at the refinery
    to reduce tiie potential dangers of fires and hanaiful emissions and dieir resulting
    Hatnflgfts tothe suCTOunding community;

    (10)         By faiUng to promulgate, implement, md enforce rales and regulations
    pertaining to the safe operation of the procedures >eing employed at the time of the


                                           [4/23]
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    accidenfdescribed herein; and

    (11)          Other acts ofneg^gence tobeproven at th^trial of this matter.
                                                 12.

        Courts have summarized the doctrine of res ipsa k gui/ur as follows:

                 ' Resipsaloquitur is "a ruleof circumstantia. evidence whereby
                   negligence is inferred onthe partof thedefendant because the
                  facts indicate that the defendant's negligence is the most
             , probable cause of the injury." Maddox Howard Hughes
             ; Corp., 19-0135, p. 9 (La.App. 4 CSr. 04/17/2019), 268 So.3d
               333, 340; Jordan v. Community Care Hpspital, 2019-0039
             ! (La.App. 4 Cir. 07/24/2019), 276 So.3d 564. To invoke the
               doctmie, a plaintiff must satisfy all of tie following three
                  requirements:

                     1. the circumstances surroundng thr accident are so
                     TOTisi'fll that, in the absence of pertinea t evidence, there is
                     aninference of ne^gence on thepartor the defendant;

                     2. the Hi»fp.nHant had exclusive control over the thing
                     causing the injury; and                    [
                     3. the circumstances are suchthat the pnlyreasonable and
             ,       fair conclusion is that the accident was due toa breach of
                     duty on defendants part

             I Maddox v. Howard Hughes Corp., 19-01^, p. 9 (La.App. 4
             , Cir. 04/17/2019), 268 So.3d 333, 340.                b\so, SpoU v. Otis
                  ElevatorCo., 601 So.2d 1366          1992).


                                                 13.


        Petitioners specifically invoke and plead the doctrme of res ipsa loquitur in the
instant case.|
                                                 14.            I
        As ai result ofthe fire atthe Domino Sugar Refinery described herein, petitioners
have sufi'eiM emotional damages, including, but not limited to fear, fright, anxiety,
             I

^notional distress, as well as inconvenience and frustration.
                                                vn.

                                            COUNT n:

                                           NUISSANCE

                                                 15.



                                               [5/23]
   Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 7 of 28




      InInabet v. Exxon Corp., 93-0681 (La. 09/06/1994), 642 So.2d 1243, the Louisiana
SupremeCpurt has sununarizedthe doctrineof mdssana as follows:

            Article 667 prohibits uses which cause danpge to nei^bors or
            deprive themof the enjoyment of theirproperty, while Article
          I 668 permits uses which merely cause neighbors some
            inconvenience. Id. at § 34. Article 669 allows suppression of
            certain inconveniences, if excessive under local ordinances
            and customs, and requires tolerance of les^r inconveniences.
            Together, the three articles establish the fallowing principles:
          I No one may use his properly soastocause| damage to another
            or to interfere substantially with the enjoyment of another's
          , property (Article 667). Landowners mmt necessarily be
          , exposed to some **11 inconveniences arisingfrom die normal
            exercise of the right of ownership by anei^bor (Article 668).
          I Bccessive inconveniences caused by the erosion of industrial
            smoke, odors, noise, dust, vapors and the like need not be
          , tolerated in the absence of a conventional}servitude; whedier
            an inconvenience is excessive or not is to be determined in the
            light of local ordinances and customs (Article 669). Id. At §
            34.                                      ^
          . Articles 667-669, while setting standards of responsibility for
          ' a landowner to his neighbors, do not purport to impose
            deHctual liability for violation of the standards and do not
            specify whether responsibility is found jd on ne^gence,
            intentional misconduct, or abuse of right. However, judicial
          > decisions have clarified that conduct by a proprietor violative
            of Articles 667-669 may give rise to delictual liability,
            without negligence, as a species of faultwii hin diemeaning of
            La.av.Code art. 2315. See, e.g., Chaney v Travelers ins. Co.,
          ' 259 La. 1, 249 So.2d 181 (1971) (holding that a landowner
          I was liable for damage to a neighbor cause d by use ofheavy
            equipment in canal improvements, although the work was
            doneprudently by usualstandards).

           The concept has emerged that Articlei 2315 establishes
           delictual responsibility for injury to otfaer| through "fault," a
          ' term encompassing more than ne^gence or other
           blameworthy conduct and includingviolations of standards of
           conduct set out inthe Qvil Code and the stkutes togovern the
           responsibility of persons in certain relatidnships and firising
           from certain activities. See, e.g., Langlois v. Allied Chem.
           Corp., 258 La. 1067, 249 So.2d 133 1(1971) (imposing
           delictual liability under Article 2315 for fault as analogized
           from the conduct required by Article 669J when gas escaped
           from a ruptured pipe which, without regard to negligence,
           caused damages). The courts have referrra to Articles 667-
          i 669 to determine the conduct which constitutes "fault" under
           Article 2315 in die context of neight          proprietors. See
          I State of La., Through Dept of Transp.       ' Dev. V. Changers
          I Inv. Co., 595 So.2d 598 (La.l992) (hoi ag that a property
           ownercouldnot recover**12from an exp| mating authority
          ' the damages rdated to the delayed             lopment of the


                                       [6/23]
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                property because there was no evidence of physical damage or
            , injury to the property and no evidence of ultrahazardous
              activity or excessive or abusive conduct v hich exceeded the
            ' level of inconvenience which a neighbor ip^ust tolerate under
                Article 668).


                                            16.

      As a result of the fire at the Domino Sugar Refin sry described herein, petitioners

have suffercjd emotional damages, including, but not      imited to fear, fright, anxiety,

emotional distress, as well as inconvenience and frustratio a and property damage.


                                            IX.

            ,                     PRAYER FORRELIEF
            '                               17
            !

      WH^EFORE, plaintiffs respectfully pray:
      (1) IThat a judgment be rendered in their favor and against defendant
            ! AMERICAN SUGAR REFINING, INC.;
            I

      (2) ^Judicial interest;
      (3)       All costs of court; and

      (4) Any and all other general, legal, or equitabjie relief to which plaintiffs may
            , be entitled.
            I




                    [ SIGNATURES ON THEFOLLOWING PAGE ]




                                          [7/23]
Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 9 of 28




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                         E-mail: laiice( >licciardiandnuiiez.com




                  LAWOFFICES^F DAVID C.JARBELL
                  APROFESSIONAl LAW CORPORATION




                  BY:
                            rWETt.!          X (Bar No. 30907)
                        9101W.St.B^dHwy.
                        Chalmette, LA' 70043
                        Tel: (504) 598f5500
                        Fax: (504) 598^5501
                        E-mail: dcj@janell-lawfinn.com




                        [8/23]
     Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 10 of 28




 AHMAD ALKURD, ET ALS                                 NO.               DIV.
 Plaintiffs '                                               I
              I
                                                      34TH jjDDICIAL DISTRICT COURT
 VERSUS '
                                                      PARIS]^ OF ST. BERNARD
 AMERICAN SUGAR REFINING, BVC                               I
Defendant '                                           STATE OF LOUISIANA

FILED:
                                                            1
                                                            1



               i                  IRREVOCABLE STIPULAT !ON
               1

               j1


         NOV ^         INTO COURT, through undersigned counsel, comes each plaintiff

identified in! E^bit 1 who hereby ent^ the followin I Irrevocable Stipulation in the

above-capticjned matter

                                               1.

         Each jplaindff identilSed in Exhibit 1stipulates ttjat the alleged damages of each
individual plaintiff identified Exhibit 1 does not exceed $75,000.00, exclusive of interest
                   I



andcosts, the^ecific amount of damages necessary to invpke diversiQr jurisdiction.
                                               2.


         Each plaintiff identified in Exhibit 1, nor their attoniey(s), will accept an amount

that exceeds$75,000, exclusive of interest and costs, from any court of any jurisdiction

for each plaintiff identified inExhibit 1.                      ^
                                               3.
                                                                I



         Eachplaintiff identified in Exhibit 1, and their atto iiey(s) renounceany portion of

any judgment r^dered by any court of any jurisdiction and in his favor against any

defendant(s) in this matter, which is in excess of $75,0{]j0.00, exclusive of interest and
costs.


                                               4,

         None 6f the plaintiffs identified in Exhibit 1, nor t leir attomey(5) will amend her
petition to plead an amount in excess of $75,000.00, exclus ve of interestandcosts.



                                             [9/23]
      Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 11 of 28




                                                  5.


           None'of the plaintiffs identified in Exhibit 1, noi their attomey(s) will authorize

 anyone onthfeir behalf or theirfuture heirs or assigns to m ike such an amendment

                                                  6.

           Judgment shall not be rendered herein in favor of each of plaintiffs identified in
 Exhibit 1, or ia any ofiier court of any jurisdiction, in exqess of $75,000.00, exclusive of
 interest and cbsts.

                                                 7.

          Each {jlaintiff identified in Exhibit 1, and their atto naiey(s) will not seek to enforce
 any judgment that may be awarded in excess of $75,00 ).00, exclusive of interest and

 costs.


                                                 8.
                                                                 I
          This irrevocable stipulation shall apply to any and all potential daims, demands,
                                                                 r


damages, costs, senses, loss ofservices, actions and causes ofaction, belonging to me,
arising out of any act or occurrence up to the present time, including but not limited to all

personal injur)|, disability, property damage, loss or damag^ of any kind sustained or that
may hereafter besustained by eachof theplaintiffs identified in Exhibit 1, in consequenceof
an accidrat that occurred on or about August 27,2020 in Ara bi, Louisiana.

                                                9.

          Each plmtiff identified in Exhibit 1, and their attor ley understand and agree that

the recovery of each individual plaintiff identified in Exhibit 1 is and hereafter shall be

limited to an amount less than $75,000.00, exclusive ofinter^t and costs.
                                                10.

          In order! to resolve any doubt or ambiguity as to ttie meaning and intent of the
language set fprdi in the Petition for Damages, each individual plaintiff identified in
l^diibit 1, and their attorney declare it is thdr intent to wai\ B, relinquish and/or renounce



                                             [10/23]
     Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 12 of 28




our entitlemeiit to any damages to each individual plaintiff identified in Exhibit 1,
exclusive of interest and costs, in excess of $75,000.00.

                                                11.

         Each) plaintiff identified in Exhibit 1 herein fur&er stipulates that the aggregate

amount ofall ofthe claims identified herein does not exjceed $5,000,000.00, exclusive of
interest and costs.
              I

                                                12.

         Each,plaintiff identified in J&dblbit 1 herein furtiusr alleges and stipulates diat the

instant dvil,action does not include a claim for monet^ relief claims of 100 or more
persons.


                                                13.

         AH plaintiffs herein further allege and stipulate Aat the instant civil action arise

from an event or occurrence in the State in which this aption has been filed and that the

injuries resulting from said event occurred only indie St^te inwhich this action has been
filed.

                                                14.

         Each plaintiff identified in Exhibit 1 stipulates th^t the alleged damages of each
individual plaintiff identified Exhibit I does not exceed ^50,000.00, exdusiveof interest
and costs, the specific amount of damages necessary for demanding a trial by jury.

                                                15.

         Each plaintiff identified in Exhibit 1 stipulates th it the alleged damages of each

individual plaintiff identified ^diibit 1 does not exceed ^5,000.00, exclusive of interest

and costs, the specific amount of damages necessary for invoking the concurrent

jurisdiction \^th justice ofthe peace courts.




                                           [11/23]
Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 13 of 28




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                                           a-tWeCMy
                                           • Randy S.??iiiiez
                                             = CLKRISJ^COURT %
                                            ".PARISS^QigSTt^ERNARD^
                                              -•   STATfeOFLOUlSliWA-" I

                        [12/23]


                                                /s/+laiIey^Mlere
    Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 14 of 28




AHMAD ALl^URD, ET ALS                                 NOW   ^      ^ A :DIV.
PUmdffs
                                                      34TH JUDICIAL D:
VERSUS
                                                      PARISH OF ST. BERNARD
AMERICAN SUGAR REFINING, INC.
Defendant \                                           STATE OF LOUISIANA

                                                                   /s/HaileyHiers
™ED:        • AU6P.R2Q71                              CLERK:



                      INTERROGATORIES, REQUESTS FOR PRODUCnON,
                             and /SEfiKESra FOR ADMISSION



       NOW INTO COURT comes plaintiffs in the above-captioned proceeding who

respectfully; propound the following Interrogatories, Requests for Production, and

Requests for Admissions upon defendantto be answere( fully and adequately within the

delaysprovidedby the LouisianaCode of Civil Procedur6.



            '                           DEFINITIONS

Unless other^vise indicated, asused herein:
            I

       (1)t "Defendant" (or 'T>efendants'') shall Inean, AMERICAN SUGAR
      REFINING, INC., in any of its corporate forms, and shall also mean any of its past
      and present employees, agents, or representatives of same, and all persons actingor
      purporting to act on behalf of samefor any putpos< iwhatsoever.

      (2) : "Document or ''Record" shall mean all written, printed, typed, recorded or
      graphic matterof everytypeand description, however and by whomever prepared,
      produl^ or reproduced, disseminated or made, in |my form now or formerly in the
      possession, custody or control of the defendants, including but not limited to
      letter^^ correspondence, telegrams, telexes, memoranda, records, minutes,
      contracts, agreements, intra- and interoffice commmcations, microfilms, bulletins,
      circuit, pamphlets, studies, reports, notices, diad^, summaries, books, messages,
      instructions, work compilations andcomputer runs, worksheets, statistics, speeches,
      tapes, jtape recordings, press releases, public staten^ents and public announcements.
      public anfi governmental filings, finanfttal stat^nents, opinions, and other writings
      andotler magnetic, photographic, electronic, andsoundrecordings.
      (3)   IThe terms "identify," "describe" or "state"

                a)      When used in ref^ence to an individual shall mean to state his fujU
            |name, present orlast known residence (to include street address, city, state,
                jand zip code) and business and business addijess. .
                lb)     When used in reference to acorporation, partnership, limited liabiHly
                company, or any odier form of business tomean tostate itsfullname andits

                                            [13/23]
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       I piincipal place of business (to include s reet address, city, state and zip
            code).

           c)        When used in reference to a document or file, shall mean to state the
       j identifying nomenclature therwn, and the type of document, including the
           date appealing thereon, if any, theperson ()r oflSce from whom sent, and its
       ' present location orcustodian, or, if any such document orfile was, but no
       I longer is, myour possession, custody or ccjntrol, the disposition made of it
           In lieu of identifying adocument as requiieSi by an discovery request, itghail
           be deemed an acceptable response to the^e discovery requests to attach a
           legible copy of the document to the responses, and to make reference to the
       j specific documents soattached in the appropriate response, provided that, by
         responding in this fashion, you agree to waive all objections to the
       •authenticity of the copy of the document sojproduced;
       , d)          When used in reference to an agreement or contract, shall mean to
           state the names of each party to the agr^m^t or contract, the date on
           whichit was entered into, the place it was confected, its terms or conditions,
       Iitspresent location, thename and address oj'itscustodian, and thesubstance
       Iofthe contents thereof. If theagreement orcontract h^ been amended, this
           must be stated in the above information funiished on each such flmftnHmftnf

           e)     When used in reference to any act,loccurrence, occasion, meeting,
           transaction, or conduct shallmeanto setfom the dateof events constituting
           such act, location, date or persons participating, present or involved, and the
           documents relating or referringin anywaythereto.

        f)   When used in reference to any oral communication or other
        communication, shall mean to state exactly vhat was said, where, when, by
        whom, and the namesof each personpresent!.

 (4) '"Relating to" (or a form thereof) shall jmean constituting, reflecting,
       [respecting, supporting, contradicting, referring to, stating, describing,
       jnoting, embodying, .containing, mentioning, studying, analyzing, discussing,
       evaluating, orrelevant to.                       f
       1

 (5)   jnie tenn "communication" shall indude, but!is not limited to, any telephone
       ponversation, conversations otiier than telephone conversations, meetings,
       faxes, telegraphs, teletypes, telegrams, ma^lgrams, notes, correspondence
       land memorandums.

 (6)   ^"Entity" shall mean any partnership, limited partnership, corporation, joint
       venture, sole proprietorship, association, as d any and all other forms of
       busmess ent^rise.

 (7)   •pie terms "and" and"or," as usedherein, in he definitions, instructions and
       discovery requests, shall be construed, either conjunctively or disjunctively
       as required by the context, to bring withi^          the scope of the discovery
       requests any information which might be deemed outside its scope by
       another construction.


(8)    the singular forms of a noun or pronoun ihall be considered to include
       )^thin itsmeaning the plural form of the nou i or pronoun soused, and vice
       versa. The masculine form of the noun or pronoun shall be considered to
       include within its meaning the feminine form of the noun or pronoun so

                                      [14/23]
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        used, and vice versa.


                                      n.

                                INSTRUCTIONS

 (1)    Tbiese discovery requests shall be deemed continuing in nature under the
        Louisiana Code of Qvil Procedure, so as to require you to serve
        supplemental answers upon the attorneys o f record for plaintiffs herein, if
        you should obtain information on the basis of which (a) you know that an
        answer was incorrect when made; or (b) you know that an answer, though
        correct when made, is no longer true, and       circumstances are such that a
        failure to amend your answers is, in sul itance, a known concealment,
        Additionally, you are required to serve supj     ental answers upon attorneys
        of record for plaintiffs herein with infi    ion obtained subsequent to your
        answers to this discovery with respect to      question directly addressed to
       (a) the identity and location ofpersons ha^ ig knowledge of discoverable
       matters, and (b) the identity of each person e^qpected to be called as an
       expert witness at trial, subject matter on which the person is expected to
        testify,and the substanceof the person'stestmiony.

 (2)   iln your answers to these discovery requests, please repeat each discovery
        request set forth-herein, and then set forth,!in writing, the answer thereto,
       [separately and fiilly. Asto any discovery request that you refuse to answer,
       in whole or in part, for any reason, please state Ae grounds for your refusal
       |to answer. Where you believe that a complete answer to a particular
       discovery request, or part th^eof, is notj possible, please answer such
        discovery request to tiie extent possible, and furnish a statement explaining
       ithereason for your inability to answer further.

 (3)   jtf you object or refuse to answer, in whole or in part, any discovery request
       propounded hereinbelow, on the grounds tliat it requests information that
       falls or may fall within the attorney-client pnvilege, or is protected by the
       iwork-product doctrine, or for any other re^on, you must set forth, with
       'specificity; the nature of the privilege or prqtection; the author and date of
       'the document; the identity ofall persons wl{o were sent or received copies
       'of the document; the subject matter ofthe document; and, a description of
       how the withholding partycontends the alleged privilege or other protection
       applies.

(4)    Documents to be produced shall be organize 1 either (1) as they are kept in
       (he usual course ofbusiness or (2) organized and labeled to correspond with
       ^e paragraphs of the following Interrogatories and Requests for Production.
(5)    The following Requests for Admission werej specifically designed with the
       intent not toseek impermissible legal conclukons. If anobjection is raised
       to any of the following Requests for Adiiission on such basis, please
       respond to the Request for Admission to th^ extent that it does not seek a
       jegal conclusion.
(6)    If an denial is givenas a response to a Requ^iItfor Admission, set forth the
       specific facts and reasonsforming the basisoi and supportingsuch denial.



                                  [15/23]
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                                               m.


                                   INTERROGATORIES
  JMERROGATQRYNO. 1

  Please desqibe in as much possible detail how you b^ieve the accident that fonns the
  basis of this|lawsuit occuned.
              I
  interrogatory NO. 2

  Please ident^ any and all witnesses that you may orwffl ;all atthe trial ofthis matter.
 INTERROGATORY NO. 3

 Please identify anyandalleyewitnesses to theevent thatJbrms thebasis of this Jawsuit.
 INTERROGATORY NO 4
                                                            I




 Please identify any and all persons who made contact with you or witii whom you "iaHp.
              1^                                           ^
 contact regaijding the event that forms the basis of this lawsuit within seventy-two (72)
              I                                            ;•
 hours after said event.

 INTERROGATORY NO. 5

 Identify each and every piece of evidence that you may or will introduce at the trial of this
 matter.


INTERROGATORY NO. H

Please identi^ each and eveiy claim of any kind made agj inst you as a result of the event
that forms thejbasis ofsaid lawsuit. For eadisuch daim, pli sase:
    1. Identify the claimant;

   2. Describe the nature of the daim, i.e. personal injury, workers' comprasation,
       property damage, etc.
INTERROGATORY NO. 7

Please identif]^ each and every setflement or compromise <>f any kind made betwem you
and any otheriperson, firm, or entity as a result of the eveit that forms the basis of said

lawsuit. Foreachsuch daim, please:
               I
   1. Identify,the claimant;

                                         [16/23]
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      2. Describe the nature of the daim, i.e. personal injury, workers' compensation.

         property damage, etc.

      3. State the amount of the settlement; and

      4. State whether there was any geographical criteria or limitationfor the settlement of

         anylsuch daims.
INTERROGATORY NO. 8


Pleaseidentifyeach and everyperson to whom you ha JQ given a statement regarding the

facts and circumstances regarding this accident and |tate whether such statement was
recorded, franscribed, or otherwise memorialized.

INTERROGATORY NO. 9


Please identify each and every person from whom you have received a statement

regarding 'the facts and circumstances regarding tiljis acddent; state whether such
statementwas recorded, transcribed, or otherwisememorialized; and identify the person,

firm, or enlityin possession of statement
INTERROGATORY NO. 10

Please identify any and allpolicies ofliabili^insucance^that may provide coverage for the
accident timt forms the basis of this lawsuit.

](NXERRQgATORYNO.U

Please identify the type andactual quantity of each and ^very chemical released during the
eventthatfprms the basisof this lawsuit, induding the m sthod of calculating same.

mmmoQATOKx m. n

Please idec^tify each and evray employee, contractor, or subcontractor on site at the time of
the event that forms the basis of his lawsuit. For each sudi person, please state whether

said person}isstill employed with American Sugar Refining, Inc.
INTERROGATORY NO. 13


Please des(|ribe any criteria or limitations, geographical   or otherwise, in connection with

any         setded direcdy with you oryour insurer rdab d tothe event that forms the basis
            i
of this law^t.

                                            [17/23]
      Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 19 of 28




  PfTERROCATORYNO. 14
               I

  Please desojibe tbe method orcriteria considered todeii^mine any amount paidor offered
  with respect toany daim made orsettled directly with An^erican Sugar Refining, Inc.




                                               IV.

                             REQUESTS FOR PRODUC noN

 REOmST FOR PRODUCTTTON NO. 1.

 Please provide a certified copyof all policies of insuranc 3 that may provide coverage for

 the acts complained ofinthe Petition.
                I


 HEOUEST FOR PRODUCTION NO. 2.

 Please provide a copy ofeach and every document that yqu intend tointroduce at the trial
 of this mattei^.

 REOUEST FOR PRODTTfrrfON NO


 For each daim made against you as aresult ofthe event th^forms the basis ofthis lawsuit,
                I
please provide a copy ofaU non-privileged documents gene^ted as a result ofsaid claim or
produced to ypu inconnection with said nlaim
REOUEST FOR PRODUCTION NO. 4.

Please providfe a copy ofany surveillance (of any type orjand) that you may have ofany
of the plaintiff(s) namedia the above-captioned suit

 REOUKST FOR PRODUCTION NO. 5.

Please provide a copy of any documents either provided to jrou oryour insurer orprovided
by you or yoiir insurer in connection wilii any claim asser :ed against you or your insurer
for the accident that forms the basis of this la\^«uit

REOUEST FOR PRODUCTION NO. 6.

Please provide a copy of any andallstatements byany part^ or witness to thedispute that
forms thebasij of this lawsuit
REOUEST FOR PRODUCTION NO. 7.



                                           [18/23]
     Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 20 of 28




 Please provijcle acopy of any documents in your possession that were consulted or utilized
 in respondinjg to any of the foregoing interrogatories. ]
 REQUEST FOR PRODUCITON NO. «.

 Please provide a copy of any photographs, videos, aid/or audio recordings in your
 possession olf any of the damage resulting from the acci lent that forms the basis of this
 lawsuit

 REOTJEST FOR PRODUCTIQN NO. 9.

 Please provide a copyof any photographs in yourpossess ion that depicts the scene of the
              I

 accident diatjforms the basis of this lawsuit
 REQUEST FOR PRODUCTION NO. 10.
              t

Please provide a copy ofany and all documents rdatec          to each and every claim made
              ,                                           I
against you or your insurer as a result of the August 27,i2020 fire at the Domino Sugar

Refinery in^bi, Louisiana.
REQUEST FOR PRODUCTION NO. 11.                           ^
Please provide acopy of any and all payments made relat^ to eadbi and ev^ daim made
against you or your insurer as a result of the August 27, 2020 fire at the Domino Sugar

R^eiy in Arabi, Louisiana.

REQUEST FOR PRODUCTION NO. 12.
                                                         I
Please providb a copy of any and all settlement documents related to each and every claim
              I


made againstj you or your insure as a result of the Augi st 27, 2020 fire at the Domino
Sugar Refin^ in             Louisiana.                    i

REQUEST FOR PRODUCTION NO. 13.

Please provide a copy of any and all agreements with St Bernard Parish Govermnent, or

any other political subdivision, related to any emeigenqr ijesponse measures involving any
incident at the refinery in Arabi, Louisiana.

KEQUEST FOR PROPUCTION NO. R

Please provide a copy ofany and all corre^ondence, inst vctions, directives, agreements,
and/or mmo^da issued to any of your employees following Hie event that forms thebasis

                                           [19/23]
     Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 21 of 28




  of this lawsuit.

  REQUEST FOR PROmTmON NO. 15.

  Please provide acopy of any and all accident reports, mddent reports, investigative reports,
  and/or prevejatabilily analyses reports, or any such similai documents, known to you to be
 related tothcj event that forms the basis of this lawsuit.

 REQUEST FOR PRODTTrTTON NO.
               I


 Please provi<^e acopy of any and all documents evident ing any damage, inrinHing any
 documents eyidendng the costs to repair any such damaj ;e, resulting firom the event that
 forms the basis of this lawsuit

 REQUEST FOR PRODTTrTTON NO. 17

 Please provide acopy of any and all air, water, and/or discharge permits issued to you by
                                                              I


 the Louisiana: Dq)artmeait of Environmental Quality, the United States Environmental
               I                                        [
 Protection Agpicy, and/or any oth^ such rfmiTar gov&amiental agency.
 REQUEST FOR PRODUCTTON NO. 18.

 Please provide a copy of any and all correspondence beween you and the Louisiana
                   I                                              ^

Department of^ivironmental Quality, theUnited States EnyironmentaT Protection Agencyt
and/or any other governmental agency related to the ev6i t that forms the basis of this
                   I

lawsuit.           ,
REQUEST FOR PRODUCTTON NO. 1«.

Please provide! a copy of any and ^ communication bet\^een you and any person who
made a daim against you or with whomyoureached a setflernent wilh.

REQUEST FOR PRODUCTTON NO. 19.

Please provide ja copy ofany and all records which relate ijn any way to flie information
regarding the complaints and/or reports about die incidc nt at issue from the public

g^erally.

REQUEST FOR PRODUCTTON NO. 20.


Please provide a copy of any and all documents providedto or otherwise reviewed by any

expert vntnessretained by you rdated to the event that forms the basis of this lawsuit.
                       I

                                           [20/23]
      Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 22 of 28




  PEOmST FOR PRODTTr/TTON NO, ^1,
  Please provide a copy ofany and all invoices related to an; services idated to anyalerts or
  notifications to the public at1^related to the eventthat fpnns the basis ofthis lawsuit.
  INQUEST FOR PRomirTroN no

 Please provide a copy of the ratire file from you r process safety managftrncnf
 documentation program related tothe event that forms the pasis ofthis lawsuit.
 REOtJEvST FOR PROPTTrTTON NO

 Please provide acopy of the entire file fix)m your internal i^Vestigation by you related to the
 event that forms the basis of diis lawsuit

 REOUEST FOR PRODUCTTON NO.

 Please provide a copy of the entire employee/p^ond file for each employee on duty on
 August 27,2020.




                                              v-
                             BEQUESTS FOR ADMISSION



REQUEST l?OR ADMISSION NO. 1:

Please admit that you have responsive information to tlje la^^ogatories propounded upon
you ill the abpve-captioned case that you are not providing in your responses to said
Interrogatories.'

REQUEST FOR ADMISSION NO. 2t

Please admit that you have responsive documents to the Requests for Production
propounded uppn you in the above-captioned case that yipu are not providing in your
responses to said Requestsfor Production.

REOUEST FOR ADMISSION NO. 3:

Please admit th^ the &cility at whidi the event that forms thej basis of this lawsuit occurred
was owned by American Sugar Refining, Inc.

REOUEST FOR ADMISSION NO. 4!



                                          [21/23]
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Please admit that the accident that forms the basis of thi lawsuit was causedsolelyby the

fault ofAA^CAN SUGARREFINING, INC.
BEQUEST FOR ADMTSCTnN NO q.

Please admitthat the accident that forms the basisof thi; lawsuit was caused by the fault

of one or mcjre employees of AMERICAN SUGAR REf|nING, INC.
REQUEST FOR ADMTSSTON NO
              I
Please admiit that you did not provide any plaintiff named herein with information
regarding thej-type or quantity of the chemicals rdeased as a result of the event that formed
the basis of tijds lawsuit.



                                   LICCIARDILAWQE TlCEjL.L.C.



                                          LANCE V. LICGIARDI (Bar No. 26384)
                                          1019 W. Judge P Jrez Dr.
                                          Chalmette, LA' 70043
                                          Tel: (504)279-1000
                                          E-mail: l^ce@licciardiandnunez.com



                                  LAW OFFICES OF DAVID C JARRELL
                                  A PRQFESSIQNALvLAW CORPORATION



                                  BY:
                                         daWcTjarr                    No. 30907)
                                         9101W. St.
                                         Chalmette, LA 70043
                                         Tel: (504)598-5500
                                         Fax:(504)598-5501
                                         E-ma^ dcj@jaire 1-lawfirm.com




                                        [22 / 23]
   Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 24 of 28




 AHMAD ALKURD, ET ALS                             NO.
 Plaintiffs I
                                                       - 11 8 4
VERSUS
                                                    u.JUDICIAL
                                                  34'          d;
            I

                                                  PARISH OF ST. BERNARD
AMERICi^ SUGAR REFINING, INC.
Defendant                                         STATE OF LOUISIANA
                  A03 2 5 2021
FILED:                                            CLERK:
                                                             /s/ Hailey Hiers

                                    SERVICEREQUE^

AMERICAljrSUGARREFDSUNG, INC.
Through itsagent for the sendee of process:
Corporate Creations Network, Ihc.
1070-B West Causeway Approach
Mandeville, LA 70471




                                      [23 / 23]
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                                          Exhibit 1
 Name
                         Represeatstive                    Address
 Alk^AI^
                                                           Ml Cougff, ^1              TO032
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                                                          201 Coxtm, Aiabi Loubitou 70032
 Alki^R^
                                                          201 j^ogiT,Loulj^lma ^
                                                          201 Cougsr, Anbi Louisiana 70032
Ancar, David
                                                           1408Almander Avo, Anbi Louisima 70032
Attcor,Maverick          David Ancar                       140SAlexanderAve.,ArabiLouisiana70032
Da^,^dr^
                                                          M83jM Su aujme^                 70043
                                                          208 3R(ISt, ChaimetteLouisiana 70043
l^a^T^K                  D^lntoTjOTW
                                                      .                                       Chaimette TjtuWTTTn 70043
Qovereale, Luea
                                                                                         70032
Ooven^
                                                          109            A^i I^jana 70032
Oovcnxalo,Sue
                                                      ,,,1WLtyingOon, AnbiLouisiana 70032
                                                          JOSLlamaDr.Anbi Louisiana 70032
N^.Rodi^
Hairis. Eddie
                                                                                              Clialm^ Louisiana 70043
                                                          321 Ocelot, Aiabi Louisiana 70032
          Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 26 of 28



                                                            Exhibit 1
                                         ^prweiitaave                    Address
           ICffitftricIc
                               -                                                                      31W, Chalmette Lorat^ 70043
                                                                                                     70032



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    .?!«5-Tt»gMo                         SffldrwtoJ^                    2083MSt,atoeltel^uis^
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    ..??!f!!K?*l^.                                                      lOS Lbin^ Aiatn Looisia^70032
                                                                                          Aiabi Louisiana7(^2
    Smitii, Danielle
                                                                                   Sv,Alibi Lottisiana 70032
    Stnidi, Damn
                                                                                            I-onisiana 70032
                                                                        .??.l.9.'*IS^.'^.' Louis^ 70032
    Sm^Jesn                                                                                                         * "* *
                                                                                                      70032
    SmiHL Jettnaine
                                                                        321 Ocelot,ArabiLouisiana70032
     Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 27 of 28



                                          Exhibit 1
 Name                    Representative                   Address
 Sn^Sr^J^iunle
                                                          105Uam Dr^Ai^i Louisiana 70032
                                                          613                                70032
                         Danielle Smith                   ras                  Louisiana 70032
,S.mjauIteliln -
                                                                             j^iLodsiana 70032
                         Danielle Smidi                   .?228St.                      70032
Smith, Teni
                                                      .                                       Chateette Louisiana 70043
SmlA,Tomietha
                                                          613C<min^^
Smi^Tommje
                                                          fil3Cj^un^ St,

                                                      .. f L o u i s i a n a70043
                                 Thomj^               _420Dtd^ FUCbalmette Louisiana 70043
Ttmta; Da^IclA
                                                      .                                                  Louisiana70043
Tta^.Kei^                D^IaiAT^e*                   __8149 W.^^BcraaidHn^,, Apt3104, Chalnietts Louisiana 70043
                                                      .                            A^t ?1M.


[^Ittjlteiioaa
                                                          38^ lUc^^ ^ Cbalmette Louisiana70043
                                                          3802 HicbelleaCt. ChalfflctteLouisiana 70043
Case 2:21-cv-01934-LMA-DMD Document 1-1 Filed 10/21/21 Page 28 of 28
                    <s^   'f
